    Case 2:14-cr-00124-TOR                ECF No. 1124    filed 12/04/24            PageID.10368           Page 1
                                                     of 3
 PROB 12C                                                                            Report Date: December 4, 2024
(6/16)
                                                                                                           FILED IN THE
                                       United States District Court                                    U.S. DISTRICT COURT
                                                                                                 EASTERN DISTRICT OF WASHINGTON


                                                       for the                                    Dec 04, 2024
                                                                                                      SEAN F. MCAVOY, CLERK
                                          Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision

 Name of Offender: Lazaro Tomas Pesina                       Case Number: 0980 2:14CR00124-TOR-5
 Address of Offender:                               Spokane, Washington 99205
 Name of Sentencing Judicial Officer: The Honorable Salvador Mendoza, Jr., U.S. District Judge
 Name of Supervising Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge
 Date of Original Sentence: June 1, 2016
 Original Offense:        Interstate Transportation in Aid of Racketeering, 18 U.S.C. § 1952(a)(2)
 Original Sentence:       Prison - 144 months                Type of Supervision: Supervised Release
                          TSR - 60 months
 Asst. U.S. Attorney:     Brian M. Donovan                   Date Supervision Commenced: February 1, 2024
 Defense Attorney:        John C. Perry                      Date Supervision Expires: January 31, 2029


                                           PETITIONING THE COURT

To issue a summons.

On February 1, 2024, the offender’s conditions of supervised release were reviewed by the probation officer and he
signed said conditions acknowledging he understood his requirements.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            1           Special Condition #15: Defendant shall abstain from the use of illegal controlled substances,
                        and shall submit to urinalysis testing (which may include urinalysis or sweat patch), as
                        directed by the supervising officer, but no more than 6 tests per month, in order to confirm
                        continued abstinence from these substances.

                        Supporting Evidence: The offender is alleged to have violated special condition number 15
                        by failing to submit to urinalysis testing at Pioneer Human Services (PHS) on November 7,
                        2024.

                        On November 7, 2024, the probation officer contacted Mr. Pesina and instructed him to
                        report to PHS on that same date for urinalysis testing.

                        On November 8, 2024, email correspondence was received from PHS indicating the offender
                        failed to report to their facility for urinalysis testing on November 7, 2024.
   Case 2:14-cr-00124-TOR       ECF No. 1124    filed 12/04/24              PageID.10369          Page 2
                                           of 3
Prob12C
Re: Pesina, Lazaro Tomas
December 4, 2024
Page 2

          2     Special Condition #15: Defendant shall abstain from the use of illegal controlled substances,
                and shall submit to urinalysis testing (which may include urinalysis or sweat patch), as
                directed by the supervising officer, but no more than 6 tests per month, in order to confirm
                continued abstinence from these substances.

                Supporting Evidence: The offender is alleged to have violated special condition number 15
                by ingesting controlled substances, methamphetamine and amphetamine, on or about
                November 8, 2024.

                On November 8, 2024, Mr. Pesina provided a urine specimen at the U.S. Probation Office
                that returned presumptive positive for methamphetamine and amphetamine. On that same
                date, he signed an admission form acknowledging use of said substances. It should be noted,
                the above-referenced urine specimen was dilute.
          3     Special Condition #15: Defendant shall abstain from the use of illegal controlled substances,
                and shall submit to urinalysis testing (which may include urinalysis or sweat patch), as
                directed by the supervising officer, but no more than 6 tests per month, in order to confirm
                continued abstinence from these substances.

                Supporting Evidence: The offender is alleged to have violated special condition number 15
                by failing to submit to urinalysis testing at PHS on November 15, 2024.

                On November 18, 2024, email correspondence was received from PHS indicating the
                offender failed to report for urinalysis testing on November 15, 2024.
          4     Special Condition #15: Defendant shall abstain from the use of illegal controlled substances,
                and shall submit to urinalysis testing (which may include urinalysis or sweat patch), as
                directed by the supervising officer, but no more than 6 tests per month, in order to confirm
                continued abstinence from these substances.

                Supporting Evidence: The offender is alleged to have violated special condition number 15
                by ingesting controlled substances, methamphetamine and amphetamine, on or about
                November 18, 2024.

                On November 18, 2024, the offender submitted a urine specimen at the U.S. Probation Office
                that returned presumptive positive for methamphetamine and amphetamine. At that time, he
                signed a denial form indicating he had not used said substances.

                The above-referenced urine sample was thereafter sent to the national laboratory for further
                testing and it was confirmed positive for methamphetamine and amphetamine. It should be
                noted, the above-referenced urine specimen was dilute.
          5     Special Condition #15: Defendant shall abstain from the use of illegal controlled substances,
                and shall submit to urinalysis testing (which may include urinalysis or sweat patch), as
                directed by the supervising officer, but no more than 6 tests per month, in order to confirm
                continued abstinence from these substances.

                Supporting Evidence: The offender is alleged to have violated special condition number 15
                by ingesting controlled substances, methamphetamine, amphetamine, and methylenedioxy-
                methamphetamine (MDMA), on or about November 28, 2024.
Case 2:14-cr-00124-TOR   ECF No. 1124    filed 12/04/24   PageID.10370   Page 3
                                    of 3
